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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 UNITED STATES OF AMERICA                       )
                                                )
                         v.                     )
                                                )
 RISHI SHAH,                                    )
 SHRADHA AGARWAL,                               )
 BRAD PURDY, and                                )
 ASHIK DESAI                                    )
                                                )         No.    19 CR 864

      Defendants.                                         Judge Thomas Durkin


         WITHDRAWAL OF ASSISTANT CHIEF WILLIAM JOHNSTON

       Please take notice that Fraud Section Assistant Chief William Johnston is no longer

assigned to this case.



                                                    Respectfully submitted,

                                                    MORRIS PASQUAL
                                                    Acting United States Attorney

                                          By:        s/ Corey Rubenstein
                                                    Corey Rubenstein
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                                                    GLENN S. LEON
                                                    Chief, Fraud Section
                                                    Criminal Division
                                                    U.S. Department of Justice
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                                     By:     s/ William Johnston
                                            William Johnston
                                            Assistant Chief
                                            1400 New York Ave NW
Dated: February 23, 2024                    Washington, D.C. 20530
